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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                  Plaintiff,
        vs.                                Case No. 11-40057-01/03-RDR

MARCOS FIDEL MOJICA-CRUZ
and JUAN ANGEL CRUZ,

                  Defendants.


                                 O R D E R

        This matter is presently before the court upon defendants’

motions for an extension of time to file pretrial motions. Mojica-

Cruz seeks an extension of 10 days.           Cruz seeks an extension of 7

days.     The defendants seek the extensions so they can attempt to

resolve this matter through plea agreements.              The defendants note

that the government does not object to these motions.

        The defendants are charged in a two-count indictment with (1)

conspiracy to possess with intent to distribute 500 grams or more

of a mixture or substance containing a detectable amount of

methamphetamine     in    violation   of    21     U.S.C.     §   846   and     (2)

distribution of 500 grams or more of a mixture or substance

containing a detectable amount of methamphetamine in violation of

21 U.S.C. § 841(a)(1).         The defendants are in custody pending

trial. The current deadline for filing pretrial motions is July 2,

2012.

        Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), the court
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may exclude a period of delay from the time computed under the

Act’s deadlines for starting a trial if the court finds that the

ends of justice served by granting the continuance outweigh the

best interests of the public and the defendant in a speedy trial.

To make this determination, the court must consider the following

factors, “among others:”        1) whether the failure to grant the

continuance would likely make the continuation of the proceeding

impossible or result in a miscarriage of justice; 2) whether the

case is unusual, complex or contains novel issues which require

additional time for preparation; 3) whether there was a delay in

filing the indictment which justifies a continuance; and 4) whether

the failure to grant a continuance would deny the defendant

reasonable time to obtain counsel, or deny either side continuity

of counsel, or deny the attorney for the government or defendant

the reasonable time necessary for effective preparation, taking

into account the exercise of due diligence.

     After full consideration, the court finds that the denial of

the requested extensions may deny counsel and defendants the time

necessary to adequately resolve this matter.           The court believes

that the requested continuance is in the interests of the public

and the parties because it will facilitate a fair, just and

efficient resolution of this matter.

     In sum, the court finds that the continuances requested are in

the interests of justice which outweigh the interests of the public


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and the defendants in a speedy trial.        Therefore, the continuance

requested constitutes excludable time under 18 U.S.C. § 3161(h)(7).

The defendants’ motions shall be granted and they shall be allowed

until July 12, 2012 in which to file pretrial motions.            The court,

however, will not allow any further extensions in this case.                The

government shall be allowed until July 23, 2012 to file its

responses.   The hearing on all pretrial motions filed in this case

shall be held on July 31, 2012 at 10:00 a.m.

     IT IS SO ORDERED.

     Dated this 6th day of July, 2012 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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